19-12417-mew              Doc 87   Filed 08/26/19    Entered 08/26/19 15:07:43        Main Document
                                                    Pg 1 of 3



 Peter Calamari
 QUINN EMANUEL URQUHART &
 SULLIVAN, LLP
 51 Madison Avenue, 22nd Floor
 New York, New York 10010
 Telephone: 212-849-7000
 Facsimile: 212-849-7100
 petercalamari@quinnemanuel.com

 -and-

 Patricia B. Tomasco
 Devin van der Hahn
 QUINN EMANUEL URQUHART &
 SULLIVAN, LLP
 711 Louisiana, Suite 500
 Houston, Texas 77002
 Telephone: 713-221-7000
 Facsimile: 713-221-7100
 pattytomasco@quinnemanuel.com
 devinvanderhahn@quinnemanuel.com

 Attorneys for GIT, Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  In re:                                                §
                                                        §
  HVI CAT CANYON, INC.,                                 §       CASE NO. 19-12417
                                                        §         (Chapter 11)
              Debtor.                                   §


                            GIT, INC.’S WITNESS AND EXHIBIT LIST FOR
                            HEARINGS SCHEDULED ON AUGUST 27, 2019

  Main Case No.: 19-12417                            Name of Debtor: HVI Cat Canyon, Inc.
  Adversary No.: N/A                                 Style of Adversary: N/A

  Witnesses:
  Randeep Grewal
  Any witness called or listed by any other
  party
  Any witness necessary to impeach the               Judge: Michael E. Wiles
  testimony of any witness called or designated
  by any other party
  Any rebuttal witnesses that may be necessary       Courtroom Deputy: Jacqueline DePierola
                                                     Hearing Date: August 27, 2019
                                                     Hearing Time: 11:00 a.m.



 09280-00001/11042900.1
19-12417-mew              Doc 87    Filed 08/26/19    Entered 08/26/19 15:07:43         Main Document
                                                     Pg 2 of 3


                                                      Party’s Name: GIT, Inc.
                                                      Attorney’s Name: Patricia B. Tomasco
                                                      Attorney’s Phone: 713-221-7227
                                                      Nature of Proceeding: Hearing on Motion to Transfer
                                                      Venue [ECF No. 47]


                                                 EXHIBITS

   EX. #                           DESCRIPTION                       O   O   ADMITTED       DISPOSITION
                                                                     F   B     / NOT
                                                                     F   J   ADMITTED
                                                                     E   E
                                                                     R   C
                                                                     E   T
                                                                     D   I
                                                                         O
                                                                         N
     A        Transcript of Hearing held on August 1, 2019
     B        $50,000,000 First Lien Credit Agreement dated as of
              May 20, 2016, among HVI Cat Canyon, Inc. and
              Rincon Island Limited Partnership, as Borrowers,
              GOGH, LLC, as Holdings, The Lenders Party Hereto
              and UBS Ag, London Branch, Administrative Agent
              and Collateral Agent




 09280-00001/11042900.1                                 2
19-12417-mew              Doc 87   Filed 08/26/19    Entered 08/26/19 15:07:43     Main Document
                                                    Pg 3 of 3


           Respectfully submitted this 26th day of August, 2019.

                                                    QUINN EMANUEL URQUHART &
                                                    SULLIVAN, LLP

                                                    By: /s/ Patricia B. Tomasco
                                                           Patricia B. Tomasco
                                                           New York State Bar No. PT0899
                                                           Texas State Bar No. 01797600
                                                           Devin van der Hahn
                                                           Texas State Bar No. 24104047
                                                           711 Louisiana, Suite 500
                                                           Houston, Texas 77002
                                                           Telephone: 713-221-7000
                                                           Facsimile: 713-221-7100
                                                           Email: pattytomasco@quinnemanuel.com
                                                                  devinvanderhahn@quinnemanuel.com

                                                          -and-

                                                          Peter Calamari
                                                          QUINN EMANUEL URQUHART &
                                                          SULLIVAN, LLP
                                                          51 Madison Avenue, 22nd Floor
                                                          New York, New York 10010
                                                          Telephone: 212-849-7000
                                                          Facsimile: 212-849-7100
                                                          petercalamari@quinnemanuel.com

                                                    ATTORNEYS FOR GIT, INC.




 09280-00001/11042900.1                               3
